Case 20-00154-ELG       Doc 93-2 Filed 02/05/22 Entered 02/05/22 15:05:12               Desc
                            Notice of Motion Page 1 of 2

    Brett Weiss, #A404420
    The Weiss Law Group, LLC
    8843 Greenbelt Road, Suite 299
    Greenbelt, Maryland 20770
    301-924-4400 Phone
    240-627-4186 Fax
    lawyer@brettweiss.com

    Attorney for Debtor in Possession


                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF COLUMBIA


     In re:
                                                      Case No. 20-00154 ELG
     WALTER LEROY PEACOCK,
                                                      Chapter 11
              Debtor.


       NOTICE OF MOTION FOR AUTHORITY TO INCUR SECURED DEBT FOR THE
      PURPOSE OF MODIFYING THE TERMS OF AN EXISTING SECURED LOAN FOR
                 REAL PROPERTY AND OPPORTUNITY TO OBJECT


    A Motion for Authority to Incur Secured Debt for the Purpose of Modifying the Terms of an Ex-
    isting Secured Loan for Real Property was filed by the Debtor, which may affect your rights. You
    should read these papers carefully and discuss them with your lawyer. (If you do not have a lawyer,
    you may want to consult one.) A copy of the Motion is attached. In summary, it provides that the
    Debtor will modify the loan securing the Debtor’s investment property pursuant to the terms stated
    in the Motion and in the attached agreement.

    You may file an objection to the Motion. This objection must contain a complete specification of
    the factual and legal grounds upon which the objection is based. All objections must be made in
    writing, with a copy to Brett Weiss, Esq., The Weiss Law Group, LLC, 8843 Greenbelt Road,
    Suite 299, Greenbelt, Maryland 20770, and filed with the United States Bankruptcy Court for the
    District of Columbia, 333 Constitution Avenue, N.W., Washington, DC 20001, within twenty-one
    (21) days from the date of this Notice, unless otherwise ordered by the Court. If no objections are
    filed within the above notice period, the Court may, in its discretion, enter the proposed Order
    without notice. In addition, the Court may, in its discretion, conduct a hearing on the Application
    or grant the Application without a hearing, regardless of whether any objections are filed.

    Any person requesting further information concerning the Application or this Notice should con-
    tact the undersigned.

    Dated: February 5, 2022                              THE WEISS LAW GROUP, LLC
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                                                          By: _______/s/ Brett Weiss___________
                                                              BRETT WEISS

                                     CERTIFICATE OF SERVICE

    I hereby certify that on the 5th day of February, 2022, I reviewed the Court’s CM/ECF system and
    it reports that an electronic copy of the above pleading will be served electronically by the Court’s
    CM/ECF system on the following:

           Kristen S. Eustis                      Kristen.S.Eustis@usdoj.gov
           U. S. Trustee for Region Four          USTPRegion04.DC.ECF@USDOJ.GOV
           Kevin Feig                             KFeig@mwc-law.com
           Oliver McDaniel                        Oliver.McDaniel@usdoj.gov

    I hereby further certify that on the 5th day of February, 2022, a copy of the above pleading was
    also mailed first class mail, postage prepaid, to:

    ATLAS ACQUISITIONS LLC, 492 C Cedar Lane Suite 442, Teaneck, NJ 07666
    BWW Law Group, LLC 6003 Executive Blvd., Suite 101 Rockville, MD 20852-3813
    Capital Bank N.A. One Church Street Rockville, MD 20850-4190
    CW Nexus Credit Card Holdings l, LLC Resurgent Capital Services PO Box 10368 Greenville,
    SC 29603-0368
    DC Water & Sewer Authority PO Box 97200 Washington, DC 20090-7200
    District of Columbia Office of Tax and Revenue 1101 4th Street, SW Washington, DC 20024-4457
    DSNB MACY S CITI BANK 1000 TECHNOLOGY DRIVE MS 777O FALLON MO 63368-
    2222
    First Premier Bank PO Box 5524 Sioux Falls, SD 57117-5524
    LVNV Funding, LLC Resurgent Capital Services PO Box 10587 Greenville, SC 29603-0587
    Merrick Bank PO Box 5721 Hicksville, NY 11802-5721
    MISSION LANE LLC PO BOX 105286 ATLANTA GA 30348-5286
    PRA Receivables Management, LLC PO Box 41021, Norfolk, VA 23541-1021
    Synchrony Bank/Amazon PO Box 965013 Orlando, FL 32896-5013
    TD BANK NORTH NA70 GRAY ROAD FALMOUTH ME 04105-2299
    The Bank of Missouri PO Box 105555 Atlanta, GA 30348-5555
    Verizon Bankruptcy Department 404 Brock Dr Bloomington, IL 61701-2654
    Walter Buzzetta, Esq. Stradey Ronon Stevens & Young, LLP 2000 K Street, Suite 700 Washington,
    DC 20006-1866

                                                          ______/s/ Brett Weiss_______________
                                                          BRETT WEISS




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